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ELEVENTH CIRCUIT TRANSCRIPT ORDER FORM
Provide all required information and check the appropriate box(es)

PARTI. Transcript Information
Within 14 days of the filing of the notice of appeal, the appellant must complete Part I and file this form in two
places: the District Court AND the Court of Appeals for ail cases. 11th Cir. R. 10-1.

Case Information:

Short Case Style; Donald Trump, et al. ys Hillary Clinton, et al.
District Court No. 2:22-CV-141 02-DMM Date Notice of Appeal Filed: September 27, 2023

Court of Appeals No. (if available): 23-13177-J

Transcript Order Information:

eh hearing [VW No transcript is required for appeal purposes [Jan necessary transcript(s) already on file

| am ordering a transcript of the following proceedings:

HEARING DATE(S) _/ JUDGE/MAGISTRATE / COURT REPORTER NAME(S)

[Pre-Trial Proceedings

Criminal Appeals:
In a criminal appeal, if the appellant pleaded guilty and intends to raise an issue regarding the guilty plea, the

record must include a transcript of the guilty plea colloquy, and if the appellant intends to raise an issue
regarding the sentence, the record must include a transcript of the sentencing hearing. If such transcripts are

not ordered, you must check the appropriate box(es) below:

Transcript of Guilty Plea Colloquy

[ ] A transcript of the guilty plea colloquy is already on file.
[| A transcript of a guilty plea colloquy is not being ordered and is not already on file, and I certify that no

issue regarding a guilty plea will be raised in a merits brief in this appeal.

Transcript of Sentencing Hearing
4 A transcript of the sentencing hearing is already on file.

A transcript of the sentencing hearing is not being ordered and is not already on file, and I certify that no
issue regarding sentencing will be raised in a merits brief in this appeal.

Note: Counsel who seek leave to withdraw pursuant to Anders v. California, 386 U.S. 738 (1967), must
ensure the record contains transcripts of all relevant proceedings. See 11th Cir. R. 27-1(a)(8).

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Financial Arrangements:

I certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the
transcript(s).

[| Criminal Justice Act: My completed AUTH-24 for government payment of transcripts has been uploaded in
eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district
court] or to the circuit judge [if ordered by or appointed by the circuit court]. [A transcript of the following
proceedings will be provided only if specifically authorized in Item 13 on the AUTH-24: Voir Dire;
Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions. ]

Ordering Counsel/Party: Jared J. Roberts

Address: 417 King Street, Suite 200, Alexandria, VA 22314

E-mail: Jared @binnall.com Phone No,.: “038-888-1943

fy p pp

Date; 10/11/2023 Signature: Cpanel Ao buts Attorney for: Appellants

PART II. Court Reporter Acknowledgment

Within 14 days of receipt, the Court Reporter must complete this section, file this form with the District Court,
AND send a copy of this form to the Court of Appeals and all parties. The transcript must be filed within 30
days of the date satisfactory arrangements for paying the cost of the transcript were made unless the Court
Reporter obtains an extension of time to file the transcript.

Date Transcript Order received:
[| Satisfactory arrangements for paying the cost of the transcript were made on:

[| Satisfactory arrangements for paying the cost of the transcript have not been made.

No. of hearing days:

Estimated no. of transcript pages:

Estimated filing date:
[| fy Dp py

Date: Signature: Phone No.:

PART Il. Notification That Transcript Has Been Filed In District Court

On the date the transcript is filed in the district court, the Court Reporter must complete this section, file this
form with the District Court, AND send a copy of this form to the Court of Appeals.

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Date: Signature:

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